         Case 1:21-mj-00020-GMH Document 16 Filed 02/11/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
______________________________
                                |
United States of America        |
                                |
       v.                       |       Case: 1:21-Cr-00020 (GMH)
                                |
Adam Johnson,                   |
Defendant                       |
                                |


                         CERTIFICATE OF FAMILIARITY WITH
                             SENTENCING GUIDELINES

       Pursuant to Local Criminal Rule 44.5(b), David Bigney, attorney for defendant Adam

Johnson, hereby certifies that he is familiar with the United States Sentencing Guidelines.



Dated: January 13, 2021                              Respectfully submitted,



                                                     /s/ David Bigney                .
                                                     David Bigney, FL Bar No. 132454
                                                     Bigney Law Firm
                                                     215 East Livingston Street
                                                     Orlando, FL 32801
                                                     Office: 407.425.6068
                                                     dbigney@bigneylaw.com
                                                     Counsel for Defendant
         Case 1:21-mj-00020-GMH Document 16 Filed 02/11/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

I hereby certify that on February 11, 2021 I electronically filed the foregoing with the Clerk of

Court using CM/ECF. I also certify that the foregoing document is being served this day on all

counsel of record or pro se parties identified on the attached service list in the manner specified,

either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive electronically

Notice of Electronic filing.




Dated: February 11, 2021                             /s/ David Bigney                .
                                                     David Bigney, FL Bar No. 132454
                                                     Counsel for Defendant




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